Case 15-12075-BLS Doc 271-3 Filed 11/25/15 Page 1 of 4

EXHIBIT C

 

Case 15-12075-BLS Doc 271-3 Filed 11/25/15 Page 2 014

TAYLOR-WHARTON |NTERNALT|ONAL, LLC, ET. AL

FOR PROFESS|ONAL SERV|CES RENDERED FROM 10l01l2015 THROUGH AND lNCLUDlNG10/31/2015 BY WORK CODE:

 

 

Professional Date Description of Servii:es Rate Hours Fees
\M||iem J. Pederson 10/19/2015 Review of LO|s and other interest letters $ 490.00 0.9 $ 441.00
Wayne Weitz 10/19/2015 Review draft objection to bid procedures; comments to counse|. 600.00 2.2 1,320.00
Wayne Weitz 10/20/2015 Caii with G. Nertea re; bid procedures hearing; amail 600.00 0.3 180.00
correspondence W. Pederson, re: same.

Georgiana Nertea 10/23/2015 Con'espondence with counsel and review of records in the data 390.00 0.6 234.00
room re: APA schedules; tlc with counsel re: same.

Vth|liam J. Pederson 10/23/2015 Review of documents including the asset purchase agreement and 490.00 1.2 588.00
exhibits.

Georgiana Nertea 10/26/2015 Conf. call with Stife| (|B) re: updates on data room activityl potential 390.00 0.5 195.00
buyers; values etc.
Asset Disposition Total 5.7 2,958.00

Georgiana Nertea 10/16/2015 |nitia| meeting with Committee counsel to review case information 390.00 2.9 1,131.00
and develop strategy and workp|an.

Wayne Weitz 10/16/2015 initial meeting with Committee counsel to review case information 600.00 2.9 1,740.00
and develop strategy and won<p|an.

Georgiana Nertea 10/17/2015 Conference call W. Weitz, Debtors' CRO and investment banker re: 390.00 1.0 390.00
projections and operations

Georgiana Nertea 10/17/2015 Fo|low-up conference call with W. Weitz re: call with CRO and |B. 390.00 0.5 195.00

Georgiana Nertea 10117/2015 Conference call W. Weilz,'W. Pederson and Lowenstein re: case 390.00 O.B 312.00
overview and information received.

Wi|liam J. Pederson 10/17/2015 Conference call G. Nertea, W. Weitz and Lowenstein re: case 490.00 0.8 392.00 _
overview and information received.

Wayne Weitz 1D/17/2015 Prepare for conference call with CRO and |B. 600.00 0.8 480.00

Wayne Weitz 1D/17/2015 Conference call G. Nertea, Debtors' CRO and investment banker 600.00 1.0 600.00
re: projections and operations

Wayne Weitz 1D/17/2015 Fo||ow~up conference call with G. Nertea re: call with CRO and |B. 600.00 0.5 300.00

Wayne Weitz 1D/17/2015 Conference call G. Nertea, W. Pederson and Lowenstein re: case 600.00 0.8 480.00
overview and information received

Wayne Weitz 10/17/2015 Emai| correspondence to Debtors advisors and UCC counsel_re: SDO.DO 1.9 1,140.00
and review of information provided by Debtor.

Wayne Weitz 1D/17/2015 Emai| correspondence counsel re: information request. 600.00 D.4 240.00

Georgiana Nertea 10/18/2015 Conference call W. Weitz, Debtors' CRO and FA re: operations and 390,00 1.0 390.00
nnancia| perfonnance.

Georgiana Nertea 1011 8/2015 Ca|| with G. Nertea, W. Weitz, Lowenstein re: case strategy, 390.00 0.6 234.00
financial projections and upcoming hearing.

V\h||iam J. Pederson 10/18/2015 Review of pleadings/mian to prepare for upcoming Committee call 490.00 1.0 490.00

. re: first Day declarationl D|P Financing Motion.

Wil|iam J. Pederson 1011 8/2015 Ca|l with G. Nertea, W. Pederson, Lowenstein re: case strategy, 490.00 0,6 294.00
tinancial projections and upcoming hearing.

Wayne Weitz 10/18/2015 Review information received from Debtors; email correspondence 600.00 1.4 840.00
Lowenstein re: same.

Wayne Weitz 10/1 812015 Email correspondence counsel re: open items not yet received. 600.00 D.3 180.00

Wayne Weitz 10/18/2015 Review tinancia| projection model. 600.00 1.1 660.00

Wayne Weitz 10/18/2015 Conterence call G. Nertea, Debtors‘ CRO and FA re: operations 600.00 1,0 600.00
and tinancia| performance

Wayne Weitz 10/18/2015 Conf call N. Brown (Wind Point) re: equity ownership history and 600.00 0,4 240.00
objectives

Wayne Weitz 10/18/2015 Cali with G. Nertea, W. Pederson, Lowenstein re: case strategy, 600.00 0.6 360.00
financial projections and upcoming hearing.

\Mlliam J. Pederson 10/19/2015 Review of documents and pleadings to prepare for upcoming 490.00 3.1 1,519.00
hearing.

Georgiana Nertea 10/20/2015 Ca|l with W. Weitz re: bid procedures hearing. 390.00 0.3 117.00

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson and W. Weitz re: information 390.00 0.5 195.00
request

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson re: Debtors' documents located 390.00 0.5 195.00
in the data room and documents to request |ist.

V\Mliam J. Pederson 10/20/2015 Attend meeting with Committee counsel following hean'ng. 490.00 1.1 539.00

V\Mliam J, Pederson 10/20/2015 Prep forand call with G. Nertea re: Debtors' documents located in 490.00 0.5 245.00
the data room and documents to request list.

Wayne Weitz 10/20/‘2015 Ca|| with G. Nertea re: bid procedures hearing. 600.00 0.3 180.00

Georgiana Nertea 10/21/2015 Review data room re: intercompany transactions and emai| W. 390.00 0.7 273,00
Pederson and W. Weitz

Georgiana Nertea 10/22/2015 Review of data room re: personnel org charts and emai| to counsel 390.00 0.5 195.00
and EA case team.

Wi|liam J. Pederson 10/22/2015 Review of documents in data room including trial balance report. 490.00 2.1 1,029.00
Email to CRO re: document request

VW|liam J, Pederson 10/22/2015 Review of monthly reporting packages from data mom. 490.00 1.4 686.00

Georgiana Nertea 10/23/2015 Conf call W.P. Weitz and W. Pederson re: D|P and business 390.00 1.1 429.00
analysis.

Georgiana Nertea 10/23/2015 Prep for and T/C with counse|, W.P. Weitz and W. Pederson re; 390.00 0.6 234.00
information request and open items

Wil|iam J. Pederson 10/23I2015 Ca|| with Committee counsel re:503(h)(9) claims, admin accrua|s, 490.00 0.4 196.00
priority claims.

V\h|liam J. Pederson 10/25/2015 Review of emai|s and filed documents, prepare for upcoming D|P 490.00 0.5 245.00
hearing.

Wayne Weitz 10/25/2015 Review Week 1 variance analysis received from Debtor, emai| 600.00 0.3 180.00
correspondence EA case team re: same.

Georgiana Nertea 10/26/2015 Conference call with Argus (CRO), W. Pederson and W.Weitz. 390.00 1.0 390.00

Georgiana Nertea 10/26/2015 Review KE|P moticn; email an|aysis to W. Weitz and W. Pederson. 390.00 0.3 117.00

Page 1 of 3

 

Case 15-12075-BLS Doc 271-3 Filed 11/25/15 Page 3 014

TA¥LOR-WHARTON lNTERNAL`|'|ONALl LLC, ET. AL

FOR PROFESS|ONAL SERV|CES RENDERED FROM10/0112015 THROUGH AND lNCLUDlNG 1D/31l2015 BY WORK CODE:

 

 

Professional Date Description of Services Rate Hours Fees
Georgiana Nertea 10/26/2015 Conference call with OCUC counsel re: updates from the 390.00 0.7 273.00
conference call with Argus (CRO).
Georgiana Nertea 10/26/2015 Review cash tlow from CRO through 2016 updated with actuals. 390.00 0.7 273.00
Vlfilliam J, Pederson 10/26/2015 Review of nled documents and detailed budget, prepare for 490.00 1.B 882.00
discussion with Committee counsel re: TSA, insurancel non-debtor
subsidiaries and related liabilities
Vlhiliam J. Pederson 10/26/2015 Review revised budget, prepare for upcoming call with CRO. 490.00 0.2 98.00
Wil|iam J. Pederson 10/26/2015 Call with CRO to review budget and undertying assumptions 490.00 1.0 490.00
Wayne Weitz 10/26/2015 Conference call with GN, CRO re: updated projections and 600.00 1.0 600.00
business operations
Wayne Weitz 10/26/2015 Conference call G. Nertea and M. Seymour re: projections and 600.00 0.4 240.00
operations
Wayne Weitz 10)26/2015 Document review to prepare for Doherty deposition. 600.00 1.8 1,080.00
Georgiana Nenea 10/27/2015 Compare original personnel org charts downloaded from data room 390.00 1.3 507.00
to updated personnel org charts and send conclusions to W.P.
Weitz and W. Pederson.
Georgiana Nertea 10/27/2015 Review Debtors' documents downloaded from data room. 390.00 0.3 117.00
Wayne Weitz 10/27/2015 Document review in preparation for T. Doherty deposition 600.00 1.8 1,080.00
Georgiana Nertea 10/29/2015 Review updated budget from Argus and compare to previous 390.00 0.5 195.00
version.
Georgiana Nertea 10/30/2015 Review of deposition transcript of Debtors' CRO. 390.00 0.5 195.00
Georgiana Nenea 10/30/2015 Correspondence with Argus re: TSA line item breakout and access 390.00 0.5 195.00
to Argus share file re: GL. _ _ '
Vlhlliam J. Pederson 10/30/2015 Review of documents re: cash flow forecast 490.00 044 196.00
Wayne Weitz 10/30/2015 Re\n`ew actual results and updated projection model. 600.00 1.1 660.00
Business Analysis Total 51.5 25,733.00
Wayne Weitz 10/17/2015 Update critical dates on calendar. 600.00 U.S 360.00
Wil|iam J. Pederson 10/20/2015 Cali with Committee counsel re: case strategy and upcoming 490.00 0.3 147,00
' objection deadline
Georgiana Nertea 10/21/2015 Review Court docket and update calendar of events in case. 390.00 0,5 195.00
meeting requests to W. Pederson and W.Weitz
Georgiana Nertea 10/27/2015 Correspondence with W.P. Weitz and W. Pederson re: Court Ca|l 390.00 0.2 78.00
dial-in DiP hearing the following day.
Georgiana Nertea 10/30/2015 Review Court docket and update case calendar re: sale hearing and 390.00 0.7 273.00
objections and create meeting invites for W. Weitz and W.
Pederson.
Georgiana Nertea 10/30/2015 Review Court docket re: final utilities and CV hearings and send 390.00 0.5 195.00
meeting invites to W. Pederson and W. Weitz.
Case Administration Tota| 2.8 1,248.00
Georgiana Nertea 10/20/2015 Prep for and telephonic appearance-Bid procedures hearing. 390.00 0.6 234.00
Wil|iam J_ Pederson 10/20/2015 Attend D|F’ inancing and bid procedures hearing in Wiimington, DE, 490.00 1.0 490.00
Georgiana Nertea 10/28/2015 Attend telephonicaliy the DiP hearing with Judge Shannon. 390.00 0.9 351.00
Wil|iam J. Pederson 10/28/2015 Attend telephonicaliy the DiP hearing with Judge Shannon. 490.00 1.1 539.00
Court Hearing Total 3,6 1,614.00
Georgiana Nertea 10/20/2015 Review of Debtors' data room for projections on 390.00 1.6 624.00
divisional/consolidated basis
VWlliam J. Pederson 10/20/2015 Review of documents in data room including frnancia|s statements 490.00 1.6 784.00
and trial balancesl develop documents request listing for
Debtor/Advisor.
Georgiana Nertea 1D/27/2015 Foilow-up and emaii correspondence with Argus re: line items 390.00 0.3 117.00
details and GL dump in Excel.
Dafa Ana|ysis Tofa| 3.5 1,525.00
Wayne Weitz 10/21/2015 Calls with C. Weinstein, J. Bakst re: conflict check. 600.00 0.3 180.00
Vwillam J. Pederson 10/23/2015 Review cf draft employment application 490.00 0.2 98.00
Wayne Weitz 10/23/2015 Prepare Retention App|ication. 600.00 0.4 240.00
Wayne Weitz 10/23/2015 Review changes and edits to retention application; update draft 600.00 0.4 240.00
Wayne Weitz 10/30/2015 Revise retention application; emaii correspondence counsel re: 600.00 0.8 480.00
same.
FeeIEmployment Appiication Total 2.1 1,238.00
Georgiana Nertea 10/21/2015 Conference call with W. Pederson, W. Weitz and Lowenstein re: 390.00 0.5 195.00
DiP terms and OCUC objection
Wil|iam J. Pederson 10/21/2015 Conference call with W. Weitz, G. Nertea and Lowenstein re: D|P 490.00 0.4 196.00
terms and OCUC objection.
\Miiiam J. Pederson 10/21/2015 Review of DiP Enancing motion and related documents 490.00 1.3 837.00
Wayne Weitz 10/21/2015 Conference call with W. Pederson, G. Nertea and Lowenstein re: 600.00 0.4 240.00
DiP terms and OCUC objec‘u`on.
Wayne Weitz 10/21/2015 Prepare for call with counsel re: DiP and DlP objection prep. 600.00 0.4 240.00
Wil|iam J. Pederson 10/23/2015 Foilow-up call with G. Nertea and W. Weitz re: cash available from 490.00 0.5 245.00
DlP proceeds
Wayne Weitz 10/23/2015 Conf call G. Nertea and W. Pederson re: DiP and business 600.00 1.1 660.00

analysis.

Page 2 of 3

 

 

Case 15-12075-BLS Doc 271-3 Filed 11/25/15 Page 4 014

TAYLOR-WHARTON |NTERNALTIONAL, LLC, ET. AL.

FOR PROFESS|ONAL SERVlCES RENDERED FROM 10/01/2015 THROUGH AND lNCLUD|NG 10/31/2015 BY WORK CODE:

 

 

 

." Date Descripl:ion of Services Rate Hours Fees

Wayne Weitz 10/23/2015 Email correspondence and TlC counsel, G. Nertea and W. 600400 0.9 540.00
Pederson re; information request and open items

Vlh|liam J. Pederson 10/24/2015 Review of DiP Motion and Elidding Procedures. 490.00 0.8 392.00

Wayne Weitz 10/24/2015 Review latest budget projection from Debtor to assess soivency; e- 600.00 1.1 660.00
mail correspondence Cornmittee counsel with analysis re: same

V\hlliam J. Pederson 10/26/2015 Call with Committee Counsel re: DiP financing and upcoming 490.00 0.7 343,00
deposition of CRO.

Wayne Weitz 10/26/2015 Review and summarize budgeted professional fees in 13-week cash 600.00 0,8 480,00
flow at request of counsel; emaii correspondence counsel re: same.

Wayne Weitz 10/26/2015 Conference call W. Pederson, G. Nertea, Argus re: budget; follow- 600.00 1.4 840.00
up conference call W. Pederson, G. Nertea re: same.

Wayne Weitz 10/26/2015 Conference call Lowenstein team to follow up orr conference call 600.00 0.7 420.00
with CRO.

Georgiana Nertea 10/27/2015 Review Reply of Antares Cap LP to the Obj of the OCUC to DlP. 390.00 1.3 507.00

Wil|iam J. Pederson 10/27/2015 Review of DiP documents re: break-up fees and expense 490.00 0.3 147.00
reimbursement cap.

Wayne Weitz 10/27/2015 Meeling Lowensteinl Rosnerto prepare for Doherty Deposilion. 600.00 1.5 SD0.0D

Wayne Weitz 10/27/2015 Attend T. Doherty deposition 600.00 4.0 2,400.00

Wayne Weitz 10/27/2015 Meeling with W. Jung, B. Eeuchler follow-up to Doherty deposition 600.00 1.7 1,020.00

Georgiana Nertea 10/28/2015 Conf call with W. Pederson to follow up on OCUC status call 390.00 0.5 195.00
discussion

Wil|iam J. Pederson 10/26/2015 Conf call with G. Nertea to follow up on OCUC status call 490.00 0.5 245.00
discussion -

Wayne Weitz 10/28/2015 Meeting W. Jung, M. Seymour to prepare for D|P hearing. 600.00 0.5 300.00

Wayne Weitz 10/28/2015 Attend DiP hearing, including negotiation meetings during court 600.00 4.3 2,580.00
breaks

\Miiiam J. Pederson 10/29/2015 Review of revised projections and DiP order/revised DiP Flnancing. 490.00 0.4 196.00
Financing Tolal 26.0 14,578.00

Vihiiiam J. Pederson 10/19/2015 Creditors‘ Committee call re; upcoming hearing, marketing of 490.00 0.6 294.00
Debtors assets insurance issues

Wayne Weitz 10/19/2015 Prepare for Commiftee conference cal|. 600.00 0.6 360.00

Wayne Weitz 10/19/2015 OCUC conference cali. 600.00 0.6 360.00

Georgiana Nertea 10/21/2015 OCUC conference cali. 390.00 0,6 234.00

Vlhliiam J, Pederson 10/21/2015 OCUC conference cali. 490.00 0.7 343.00

Wayne Weitz 10/21/2015 OCUC conference cali. 600.00 0.6 360.00

V\h||iam J. Pederson 10/25/2015 OCUC conference ca||. 490.00 0.8 392.00

Georgiana Nertea 10/26/2015 OCUC conference cali. 390.00 U.B 312.00

Wayne Weitz 10/26/2015 OCUC conference cali. 600.00 0.8 480.00

Georgiana Nertea 10/27/2015 OCUC conference call following deposition 390.00 0.9 351.00

Wayne Weitz 10/27/2015 OCUC conference call following deposition 600.00 0,9 540.00

Georgiana Nertea 10/28/2015 OCUC conference call before hearing. 390.00 0.3 117.00

Georgiana Nertea 10/28/2015 OCUC update conference call following hearing. 390.00 0.5 195.00

Vlhlliarn J. Pederson 10/28/2015 Attend Committee call prior to DiP hearing re: negotiation update. 490.00 0.3 147.00

V\hlliam J. Pederson 10/28/2015 Post-hearing Commit'tee call re: negotiations with Debtor, revised 490.00 0.5 245.00
DiP budget

Wayne Weitz 10/28/2015 OCUC conference call prior to DiP hearing. 600.00 0.3 180.00

Wayne Weitz 10/28/2015 OCUC update conference call following hearing. 600.00 0.5 300.00
Meelings of Creditors Total 10.3 5,210,00

Vlh||iam J, Pederson 10/23/2015 Cal| with W.P. Weitz and G. Nertea re: budget analysis and 490.00 0.4 196.00
discovery documents
Teiephone Calls Total 0.4 196.00

V\hlliam J. Pederson 10/20/2015 Trave| time to/from Vlhlmington to attend D|P financing hearing. 245.00 1.1 269,50

Wayne Weitz 1Dl27/2015 Round trip travel Wlimington for T. Doherty deposition 300.00 1.5 450.00

Wayne Weitz 10/23/2015 Round trip travel to Wiimington for DiP hearing. 300.00 1.5 450.00
Trave| Time Total 4.1 1,169.60
Totai Hours and Fees 110.0 55,469.50
P|us Expense: Mea|s 75.55
P|us Expense: Miles 69.00
P|us Expense: Train Fare 51.00
P|us Expense: Teiephone Court Appearance Charge 30.00
P|us Expense: Parking 26.00

Grand Total

Page 3 of 3

s 55,123.05

